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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

DALLAS COUNTY HOSPITAL DISTRICT,                  §
d/b/a PARKLAND HEALTH & HOSPITAL                  §
SYSTEM,                                           §
                                                  §
       Plaintiff,                                 §
                                                  §         CASE NO. 3:15-cv-4063-B
vs.                                               §
                                                  §
NEXTGEN HEALTHCARE                                §
INFORMATION SYSTEMS, LLC,                         §
                                                  §
       Defendant.                                 §

              PLAINTIFF’S MOTION TO DISMISS COUNTERCLAIM

       Pursuant to Fed. R. Civ. P. 12(b)(1), Plaintiff and Counterclaim Defendant Dallas

County Hospital District (the District), files this Motion to Dismiss the Counterclaim of

NextGen Healthcare Information Systems, LLC (NextGen) for lack of subject matter

jurisdiction. Specifically, the District moves on the ground that NextGen failed to

exhaust its administrative remedies prior to filing suit.

                                            I.
                                          FACTS

       On September 15, 2013, NextGen and the District entered into a contract for the

provision of an electronic medical records management system (EMR) to be used by the

county jail system (the Contract). Laxton Aff. ¶5, App. at 2, 7. That Contract includes a

Disputes Clause that provides, in part:

              H-10. Disputes (Oct. 12)

             (a)   Except as otherwise provided in this contract, any dispute
       concerning a question of fact or law arising under or related to this



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             contract which is not disposed of by agreement shall be decided by the
             Contracting Officer, who shall reduce his decision to writing and mail or
             otherwise furnish a copy thereof to Contractor. The decision of the
             Contracting Officer shall be final and conclusive unless, on or before the
             90th day from the date of receipt of such copy, the Contractor mails or
             otherwise furnishes a written appeal addressed to the District. The
             decision of the District or its duly authorized representative on such
             appeal shall be final and conclusive unless determined by a court of
             competent jurisdiction to have been fraudulent, capricious, arbitrary, so
             grossly erroneous as necessarily to imply bad faith, or not supported by
             substantial evidence. . . .

App. at 15-16. The Contracting Officer determined that NextGen was in default, and

provided notice of that determination to NextGen by letter dated May 14, 2015. Laxton

Aff. ¶ 15, App. at 4, 90-99. By letter dated June 1, 2015, NextGen disputed the findings

of default, and asserted that $387,628.87 was due to NextGen. Laxton Aff. ¶ 16, App. at

4, 100-113.

             The Contracting Officer thereafter confirmed that NextGen was in default.

Laxton Aff. ¶¶ 17 & 20, App. at 5. He further found that the District was owed

$868,261.68 from NextGen and that the District could withhold the amounts invoiced by

NextGen that were then outstanding. App. at 114-115.

             NextGen did not appeal the decision of the Contracting Officer within 90 days as

required by the Disputes Clause of the Contract. Laxton Aff. ¶ 18, App. at 5.

             On December 23, 2015, the District filed suit against NextGen seeking to enforce

the Contracting Officer’s decision that NextGen had defaulted on its contract to provide

the Electronic Medical Records System (EMR).1 Pl.’s Orig. Compl., Dkt. # 1. The basis




																																																								
1   The District amended the Complaint on March 8, 2016. Dkt. #19.



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for the suit is that NextGen failed to appeal the Contracting Officer’s decision, which as

a result has become “final and conclusive.”

       NextGen moved to dismiss the Complaint, in response to which the District

amended its pleading to eliminate all tort claims. See Dkt. # 12 & 19. NextGen then

moved to dismiss the Amended Complaint, asserting that the District had failed to

exhaust the administrative procedures found in the Disputes Clause of the parties’

contract and in the District’s Purchasing Manual (DPM). Dkt. #21.

       The Court took extensive briefing and oral argument on the issue and denied the

motion to dismiss by order dated January 6, 2017. Jan. 6, 2017 Mem. Op. & Ord., Dkt.

# 35. The Court concluded that the dispute resolution procedures in the Contract were

jurisdictional requirements, and that there had been a final decision by the Contracting

Officer sufficient to permit the District to move forward with its suit. Id.

       Thereafter, NextGen filed an Answer and Counterclaim. Dkt. # 37. The

Counterclaim alleges that the District breached the Contract with NextGen by: (a)

failing to cooperate with development and installation of the EMR; and (b) failing to

pay NextGen invoices billed in the amount of $443,724.39. Id. at 4 (¶4 of Counterclaim).

       Because each of the “breaches” asserted by NextGen were the subject of the

decision of the Contracting Officer, which NextGen failed to appeal, the District now

moves to dismiss for lack of subject matter jurisdiction.




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                                      II.
                           ARGUMENT AND AUTHORITIES

A.      NextGen Bears the Burden of Demonstrating Subject Matter Jurisdiction

        “‘Federal courts are courts of limited jurisdiction.’” MacKenzie v. Castro, No. 3:15-

cv-0752-D, 2016 WL 3906084, at *2 (N.D. Tex. July 19, 2016) (quoting Stockman v. Fed.

Election Comm’n, 138F.3d 144, 151 (5th Cir. 1998)). For that reason, they can adjudicate

claims only when subject matter jurisdiction “is expressly conferred by the Constitution

and federal statute. Federal Rule of Civil Procedure 12(b)(1) provides the vehicle

through which” a party may challenge that jurisdiction. Armstrong v. Tygart, 886 F.

Supp. 2d 572, 584 (W.D. Tex. 2012) (internal citations omitted).

        “A Rule 12(b)(1) motion can mount either a facial or factual challenge.”

MacKenzie, 2016 WL 3906084, at *2. In this case, because consideration of the District’s

motion requires the Court to review evidence outside the pleadings, the challenge is

factual. Id. A factual challenge to jurisdiction permits the Court to consider affidavits,

testimony, and other evidentiary materials submitted by the parties in support of their

positions. Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981).

        Even though the District is the movant, the burden of proof is on NextGen as the

party asserting jurisdiction. Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001)

(per curiam). Moreover, there is no presumption that the facts pleaded by NextGen are

true. Williamson v. Tucker, 645 F.2d 404, 412–13 (5th Cir. 1981). Rather, NextGen must

“prove subject matter jurisdiction by a preponderance of the evidence.” MacKenzie, 2016

WL 3906084, at *2 (citing Paterson, 644 F.2d at 523).




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B.      Exhaustion of the Disputes Clause Procedures is a Jurisdictional Prerequisite
        to Suit

        As this Court previously recognized, the “doctrine of exhaustion of

administrative remedies is well established in the jurisprudence of administrative law.”

Jan. 6, 2017 Mem. Op. & Ord., Dkt. # 35 (quoting McKart v. United States, 395 U.S. 185,

193 (1969)). Under that doctrine, “no one is entitled to judicial relief for a supposed or

threatened injury until the prescribed administrative remedy has been exhausted.”

McKart, 395 U.S. at 193 (internal quotations and citations omitted).

        Whether administrative remedies are jurisdictional prerequisites to suit turns on

whether the requirement is statutory or merely jurisprudential. See Williams v. J.B. Hunt

Transp., Inc., 826 F.3d 806, 810 (5th Cir. 2016). See also Taylor v. U.S. Treasury Dep’t, 127

F.3d 470, 475 (5th Cir. 1997) (explaining that statutory exhaustion requirements are

“tantamount to a legislative investiture of exclusive original jurisdiction in the agency”).

        The procedure set out in the Disputes Clause is a jurisdictional requirement

because it implements a regulatory scheme promulgated under authority granted by

statute. The statutory authorization has multiple sources. As an initial matter, the

Texas Local Government Code grants the District’s governing body—its Board of

Managers--the authority to enter into contracts for the purchase of personal property

like the EMR at issue in this case. Consistent with this statutory authority, the Health

and Safety Code grants the Board general powers to manage and control the District,

and grants the Dallas County Commissioners Court authority to develop specific

policies and procedures for making such purchases, although the commissioners may

delegate this power to the Board. TEX. HEALTH & SAFETY CODE § 281.047-.049 (West


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2017). The Commissioners Court has established purchasing policies and delegated the

enforcement and administration of those policies to the Board. DALLAS CNTY. CODE §

78-31(a). Those procedures are set out in the DPM.

      The Local Government Code, Dallas County Code and the DPM all provide that

the administrative remedies applicable to a local governmental entity’s particular

purchase is accomplished by the parties’ affirmative incorporation of those terms into

their contract. The Local Government Code states:

      CONTRACTUAL ADJUDICATION PROCEDURES ENFORCEABLE.
      Adjudication procedures, including requirements for serving notices or
      engaging in alternative dispute resolution proceedings before bringing a
      suit or an arbitration proceeding, that are stated in the contract subject to
      this subchapter or that are established by the local governmental entity
      and expressly incorporated into the contract or incorporated by reference
      are enforceable except to the extent those procedures conflict with the
      terms of this subchapter.

TEX. LOC. GOV’T CODE § 271.154 (West 2017) (emphasis added). Likewise, the Dallas

County Code expressly provides that the Chief Executive Officer or Chief Operating

Officer of the District can authorize exceptions to the District’s purchasing procedures.

DALLAS CNTY. CODE § 78-31(c). And the DPM also provides that those procedures may

be modified:

      § 2-301 Deviations from Regulations

      The Chief Executive Officer may approve deviations from this Manual
      with respect to an individual procurement; provided, however, that any
      such deviation (together with a description of the circumstances and the
      justification therefor) shall be reported to the Board at its next meeting in a
      written report of the Chief Executive Officer.

      In combination, Section 271.154 of the Local Government Code, Dallas County

Code Section 78, and Section 2-301 of the DPM give any modified dispute resolution


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procedures contained within contracts between the District and its vendors the force of

law. In this case, NextGen and the District elected the Disputes Clause found in the

Contract.   And because the Disputes Clause is promulgated pursuant to statutory

authority, it is a jurisdictional requirement. See Lewis v. Jacksonville Bldg. & Loan Ass'n,

540 S.W.2d 307, 310 (Tex. 1976) (administrative rules promulgated pursuant to statutory

authority have force and effect of statutes); Texarkana & Ft. S. Ry. Co. v. Houston Gas &

Fuel Co., 51 S.W.2d 284 (Tex. 1932) (valid rules and regulations promulgated by an

administrative agency acting within its statutory authority have the force and effect of

legislation); Northeast Tarrant County Water Authority v. Board of Water Engineers, 367

S.W.2d 720 (Tex. App.—Austin 1963, no writ) (same); Little v. Texas Bd. of Law Examiners,

334 S.W.3d 860, 862 (Tex. App.—Austin 2011, no pet.) (process for hearings under the

Rules Governing Admission to the Bar created a statutory prerequisite to suit); Lazarides

v. Farris, 367 S.W.3d 788, 798–99 (Tex. App.—Houston [14th Dist.] 2012, no pet.)

(regulations and guidelines for their enforcement promulgated by a city council created

statutory prerequisites to suit).

C.      NextGen’s Counterclaim Must Be Dismissed Because It Failed to Exhaust
        Administrative Remedies

        Under the foregoing authorities, administrative remedies promulgated by local

governmental entities must be exhausted before the courts can intervene. This is so

because, except in the most unique circumstances, a claimant has not actually suffered

any injury until administrative processes have been completed and the ruling

complained of has been put into effect. See Glen Oaks Utilities, Inc. v. City of Houston, 340

S.W.2d 783, 785 (Tex. 1960). If that general principle were not enough, each entity that


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submits a bid to the District, including NextGen, “agrees to exhaust its administrative

remedies under Chapter 10 of the District’s Purchasing Manual or the Disputes Clause

of any resulting contract prior to seeking judicial relief.” 2 DPM Section 10-102.

             The Fifth Circuit recognized this principle in Martin K. Eby Const. Co., Inc. v.

Dallas Area Rapid Transit, 369 F.3d 464 (5th Cir. 2004), which held that a local

government contractor must exhaust administrative remedies prior to filing suit. In

that case, the contract was with DART, a regional transportation authority, whose

standard disputes clause was very similar to the one at issue in this case.                         The

contractor’s suit was dismissed because the contractor never submitted its claim to that

process.

             The Disputes Clause of the Contract requires a claimant to submit a dispute to

the Contracting Officer and, if not satisfied with the result, appeal to the District within

90 days. App. at 15-16. Only then is the decision of the District subject to judicial

review, and then only under the deferential standard set out in the Contract. Here,

NextGen brought the issues of cooperation and unpaid invoices under review through

its June 1, 2016 letter3; e.g., App. at 100 (seeking past-due balance), 102 (complaining

that Jail Health Team expanded requirements); 103 (asserting failure to Jail Health Team


																																																								
2 Texas courts have found statutory prerequisites to suit even where the law or regulation does not
expressly state that a condition must be met prior to suit. In State v. Lueck, 290 S.W.3d 876, 883 (Tex.
2009), for example, the Texas Supreme Court looked to the general prohibition against retaliatory
discharge in the Texas Whistleblower Act and held that “the elements of section 554.002(a) can be
considered to determine both jurisdiction and liability.” It did so even though that provision said
nothing of requirements to suit, but elsewhere the statute expressly addresses whether public employees
must exhaust available grievance procedures before filing suit. See TEX. GOV’T CODE §554.006 (West
2017).
3It is unclear why the dollar damages claimed in the counterclaim are not the same as the amount cited in
the June 1, 2016 correspondence.



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to provide required information and specifications), but failed to exhaust the

administrative process to its conclusion. Laxton Aff. ¶ 18, App. at 5. Consequently,

NextGen’s failure to pursue administrative resolution bars its counterclaim.

             Federal contracts decisions4 consistently hold that “[w]here a federal contract

contains such a disputes clause, and also provides a specific administrative remedy for

a particular dispute, the contractor must exhaust its administrative contractual remedies

prior to seeking judicial relief. Maine Yankee Atomic Power Co. v. United States, 225 F.3d

1336, 1340–41 (Fed. Cir. 2000) (collecting cases). See also McKart v. United States, 395 U.S.

185, 193, (1969) (“no one is entitled to judicial relief ... until the prescribed

administrative remedy has been exhausted”) (internal citation and quotation omitted);

Crown Coat Front Co. v. United States, 386 U.S. 503, 512, (1967) (A government

“contractor must seek the relief provided for under the contract or be barred from any

relief in the courts.”); Schlesinger v. United States, 383 F.2d 1004, 1007-08 (Ct. Cl. 1967)

(where party fails to appeal contracting officer decision as provided by disputes clause,

“then there exists a jurisdictional void which we are not at liberty to ignore”).

             This is true whether the contractor fails to bring the claim in the first instance, or

fails to administratively appeal.5 See United States v. Joseph A. Holpuch Co., 328 U.S. 234,


																																																								
4 Section H-16 of the Contract provides that in the absence of state law, federal common law, including
that developed by federal boards of contract appeals and the United States Court of Federal Claims, are
controlling. App. at 16.
5 While most modern cases are decided under the Contract Disputes Act, 41 U.S.C. §§ 601–13, which
expressly addresses the unreviewability of administrative decisions not timely appealed, the same is true
for contracts that are not governed by, or pre-date, the CDA. Thus, the federal common law provides
that a contractor may not sue to challenge a Contracting Officer’s decision that the contractor has not
pursued through administrative appeal. E.g., PDR, Inc. v. United States, 78 Fed. Cl. 201, 205–06 (2007)
(noting that for any contract with the federal government not covered by the Contract Disputes Act, the
presence of a disputes clause requires the contractor to exhaust its administrative contractual remedies


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239–40 (1946) (remedies available under disputes clause in government contract are

exclusive, and absent clear evidence appeal procedure is inadequate or unavailable, that

procedure must be pursued and exhausted); Paragon Energy Corp. v. United States, 229

Ct.Cl. 524, 525 (1981) (“It has long been settled that if a Government contract provides

relief for a particular dispute, the standard disputes clause requires the contractor to

present the claim administratively before suit can be brought.”); Schlesinger, 383 F.2d at

1007 (1967) (granting summary judgment in favor of government, where contractor

failed to timely appeal contracting officer decisions as required by disputes clause in

government contract). See also Maine Yankee Atomic Power Co. v. United States, 225 F.3d

1336, 1340–41 (Fed. Cir. 2000).

             NextGen cannot demonstrate that it exhausted its remedies and, for this reason,

the court lacks jurisdiction. For this reason, dismissal is required.

                                                                                 III.
                                                                               PRAYER

             For all the reasons set forth above, the District respectfully requests that the

Court dismiss the counterclaims asserted by NextGen for failure to exhaust the

administrative process laid out in the Disputes Clause.


Date: February 10, 2017                                                           Respectfully submitted,


                                                                                  /s/ Linda R. Stahl
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prior to seeking judicial relief and citing Maine Yankee Atomic Power Co. v. United States, 225 F.3d 1336,
1340 (Fed.Cir.2000).



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                         CERTIFICATE OF SERVICE

      I certify that the foregoing document was served upon all counsel of record

via the Court's CM/ECF electronic filing system in accordance with the Federal

Rules of Civil Procedure on February 10, 2017.


                                             /s/ Linda R. Stahl
                                             Linda R. Stahl




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